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                  United States Court of Appeals
                          FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 23-3190                                                   September Term, 2023
                                                              FILED ON: DECEMBER 8, 2023

UNITED STATES OF AMERICA,
                   APPELLEE

v.

DONALD J. TRUMP,
                       APPELLANT


                         Appeal from the United States District Court
                                 for the District of Columbia
                                    (No. 1:23-cr-00257-1)


       Before: MILLETT, PILLARD and GARCIA, Circuit Judges

                                       JUDGMENT

       This cause came on to be heard on the record on appeal from the United States District
Court for the District of Columbia and was argued by counsel. On consideration thereof, it is

       ORDERED and ADJUDGED that the District Court’s Order be affirmed in part and
vacated in part, in accordance with the opinion of the court filed herein this date. It is

       FURTHER ORDERED that this court’s administrative stay entered on November 3,
2023, be dissolved.

       The Clerk is directed to issue the mandate forthwith.

                                          Per Curiam


                                                               FOR THE COURT:
                                                               Mark J. Langer, Clerk

                                                        BY:    /s/

                                                               Daniel J. Reidy
                                                               Deputy Clerk


Date: December 8, 2023

Opinion for the court filed by Circuit Judge Millett.
